
502 West 152nd Street, LLC, -Appellant, 
againstMohammed Soumahoro, Respondent-Tenant-Respondent.



Landlord appeals from an order of the Civil Court of the City of New York, New York County (Sabrina B. Kraus, J.), dated August 3, 2016, which vacated a prior order denying tenant's motion to vacate his default in complying with a stipulation of settlement, and restored him to possession of the subject premises in a holdover summary proceeding.




Per Curiam.
Order (Sabrina B. Kraus, J.), dated August 3, 2016, reversed, without costs, and tenant's motion denied. Execution of the warrant shall be stayed for 30 days from the service of a copy of this order with notice of entry.
Civil Court erred in concluding that tenant was unlawfully evicted. The record establishes that tenant was legally evicted after repeatedly failing to comply with the unambiguous "time is of the essence" payment provision of the stipulation executed in settlement of the underlying chronic rent delinquency holdover proceeding (see Henry Hudson Gardens, L.L.C. v Bareda, 25 AD3d 466 [2006]). "Strict enforcement of the parties' stipulation ... is warranted based upon the principle that the parties to a civil dispute are free to chart their own litigation course" (Mill Rock Plaza Assoc. v Lively, 224 AD2d 301 [1996]). We also note that the marshal's notice was re-served after the Court's June 30, 2016 denial of tenant's prior motion to vacate his default under the stipulation.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: March 12, 2018










